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                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     BEAUMONT DIVISION

 UNITED STATES OF AMERICA                               §
                                                        §
 VS.                                                    §    CASE NO. 1:15-CR-6(5)
                                                        §
 MARTIN ALEXIS VASQUEZ-CONDE                            §

            FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                 BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On December 21, 2015, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the defendant, Martin Alexis Vasquez-Conde, on Count One

 of the charging Information1 filed in this cause. Count One of the Information charges that on

 or about September 29, 2014, in the Eastern District of Texas and elsewhere, Martin Alexis



        1
         Defendant executed a waiver of indictment which was made part of the record at the guilty plea hearing.

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 Vasquez-Conde, defendant, traveled in foreign commerce from the State of Texas to the country

 of Mexico and back, with the intent to promote, manage, establish, carry on, and facilitate the

 promotion, management, establishment and carrying on of an unlawful activity, to wit:

 conspiracy to possess with the intent to distribute 500 grams or more of methamphetamine, a

 Schedule II controlled substance, and thereafter performed and attempted to perform an act to

 promote, manage, establish, and carry on, and to facilitate the promotion, management,

 establishment, and carrying on of such unlawful activity, namely the transportation of

 approximately 72.57 kilograms of methamphetamine, in violation of 18 U.S.C. § 1952(a)(3).

        Defendant, Martin Alexis Vasquez-Conde, entered a plea of guilty to Count One of the

 Information into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement and a

 plea agreement addendum which was disclosed and addressed in open court, entered into the

 record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the



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 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

        d.       That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that his conduct falls within the definition of the crime charged under 18 U.S.C.

 § 1952(a)(3).

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

 this case were to proceed to trial the Government would prove beyond a reasonable doubt,

 through the sworn testimony of witnesses, including expert witnesses, and through admissible

 exhibits, each and every essential element of the crime charged in Count One of the Information.

 The parties also stipulated that the Government would also prove that the defendant is one and the

 same person charged in Count One of the Information and that the events described in the

 Information occurred in the Eastern District of Texas. The Court incorporates the proffer of

 evidence described in detail in the factual basis in support of the guilty plea.

        Defendant, Martin Alexis Vasquez-Conde, agreed with and stipulated to the evidence

 presented in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that he was entering his guilty



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 plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the charging Information on file in this

 criminal proceeding.    The Court also recommends that the District Court accept the plea

 agreement and the plea agreement addendum pursuant to Federal Rule of Criminal Procedure

 11(c). Accordingly, it is further recommended that Defendant, Martin Alexis Vasquez-Conde,

 be finally adjudged as guilty of the charged offense under Title 18, United States Code, Section

 1952(a).

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

 the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement and any plea agreement addendum, the federal

 sentencing guidelines and/or the presentence report because the sentencing guidelines are

 advisory in nature.    The District Court may defer its decision to accept or reject the plea

 agreement and addendum until there has been an opportunity to consider the presentence report.

 See FED. R. CRIM. P. 11(c)(3). If the Court rejects the plea agreement or addendum, the Court

 will advise Defendant in open court that it is not bound by the plea agreement or addendum and

 Defendant may have the opportunity to withdraw the guilty plea, dependent upon the type of the



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 plea agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea agreement or addendum is rejected

 and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

 Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

 before the District Court before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

        A party’s failure to object bars that party from: (1) entitlement to de novo review by a

 district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
  .
 factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

 Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

 by Congress and the courts require that, when a party takes advantage of his right to object to a

 magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

 by considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                    SIGNED this the 22nd day of December, 2015.




                                                       ____________________________________
                                                       KEITH F. GIBLIN
                                                       UNITED STATES MAGISTRATE JUDGE
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